                                1:18-cv-10472-TLL-PTM   Doc # 24    Filed 04/20/18   Pg 1 of 5   Pg ID 293




                                            UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF MICHIGAN

                            ADAM KANUSZEWSKI, et al,
                                Plaintiffs,                                Case No.: 18-cv-10472

                                 v.                                      Hon. Thomas L. Ludington,
                                                                            District Court Judge
                            MICHIGAN DEPARTMENT OF
                            HEALTH AND HUMAN                               Hon. Patricia T. Morris,
                            SERVICES, et al,                                 Magistrate Judge
                                Defendants
                                                                /
OUTSIDE LEGAL COUNSEL PLC




                            PHILIP L. ELLISON (P74117)              CHRISTOPHER L. KERR (P57131)
                            Outside Legal Counsel PLC               THOMAS S. MARKS (P69868)
     www.olcplc.com




                            Counsel for Plaintiffs                  Assistant Attorneys General
                            PO Box 107                              Michigan Dept of Attorney General
                            Hemlock, MI 48626                       Corporate Oversight Division
                            (989) 642-0055                          Attorneys for State Defendants
                            pellison@olcplc.com                     P.O. Box 30755
                                                                    Lansing, MI 48909
                            JEREMY C. KENNEDY (P64821)              (517) 373-1160
                            JEROLD LAX (P16470)
                            Pear Sperling Eggan & Daniels, PC       THOMAS F. CAVALIER (P34683)
                            Counsel for Michigan Neonatal           Office of the General Counsel
                            BioBank Inc and Dr. Antonio             Wayne State University
                            Yancey (Personal Capacity)              Counsel for Dr. Antonio Yancey
                            24 Frank Lloyd Wright Dr, #D2000        (Personal Capacity)
                            Ann Arbor, MI 48105                     656 W. Kirby, 4249 FAB
                            (734) 665-4441                          Detroit, MI 48202
                            jkennedy@psedlaw.com                    (313) 577-2268
                            jlax@psedlaw.com                        thomas.cavalier@wayne.edu


                                MOTION FOR ENTRY OF ORDER SETTING NEW DEADLINE
                             ON PLAINTIFFS’ RESPONSE TO STATE DEFENDANTS’ MOTION TO
                               DISMISS UNTIL PLAINTIFFS’ MOTION TO STRIKE IS DECIDED




                                                                    1
                                 1:18-cv-10472-TLL-PTM   Doc # 24   Filed 04/20/18   Pg 2 of 5   Pg ID 294




                                  NOW COMES Plaintiffs, by counsel, and requests this Court to enter

                            an order extending the Plaintiffs’ response brief due date or deadline in

                            responding to the State Defendants’ Motion to Dismiss (ECF No. 21) until

                            the pending Plaintiffs’ Motion to Strike (ECF No. 23) said filing is fully

                            decided. Should the Court strike the State Defendants’ Motion to Dismiss, a

                            new deadline would be automatically reset by the State Defendants having

                            to refile their corrected Rule 12(b)(6) motion. Absent that relief, however, the
OUTSIDE LEGAL COUNSEL PLC




                            response to the improper State Defendants’ Motion to Dismiss is currently
     www.olcplc.com




                            due May 8, 2018. See E.D. Mich. L.R. 7.1(e)(1)(B). Without relief by this

                            motion, Plaintiffs’ must work on a large response which might all be for

                            naught. Such would an unnecessary waste of time and resources for counsel

                            and the litigants. As such, this motion’s reasonable relief is sought to save

                            previous party resources and time.

                                  The Court is requested to extend Plaintiffs deadline at least 21 days

                            from the date of the motion decision on Plaintiffs’ Motion to Strike (ECF No.

                            23) unless the Court strikes the State Defendants’ motion/brief.

                                  Pursuant to E.D. Mich. L.R. 7.1(a), counsel for Plaintiffs and State

                            Defendants have directly spoken. The State Defendants declined to provide

                            this express relief by stipulation. However, in fairness to brother counsel, he

                            did agree to a fixed extension of time to respond (i.e. 21 more days from May


                                                                    2
                                1:18-cv-10472-TLL-PTM    Doc # 24   Filed 04/20/18   Pg 3 of 5   Pg ID 295




                            8, 2018) in lieu of a floating deadline as proposed above. The difficult

                            problem (for both sides) is that there is no indication or set understanding of

                            when the Court will decide the Motion to Strike. Plaintiffs’ Motion to Strike

                            (ECF No. 23) goes to the heart of what this Court is allowed or not allowed

                            to consider as part of the State Defendants’ Motion to Dismiss. Therefore,

                            in an abundance of caution and prudence, this motion is submitted.
OUTSIDE LEGAL COUNSEL PLC
     www.olcplc.com




                                                                    3
                                 1:18-cv-10472-TLL-PTM     Doc # 24   Filed 04/20/18   Pg 4 of 5   Pg ID 296




                                                          BRIEF IN SUPPORT

                                  Federal Rule of Civil Procedure 6(b)(1)(A) permits a party to seek an

                            enlargement of time on motion if a request is made before the original time

                            or its extension expires. Moreover, this court has the inherent power to

                            control the disposition of the causes [i.e. motions] on its docket with economy

                            of time and effort for itself, for counsel, and for litigants. Landis v North

                            American Co., 299 U.S. 248, 254 (1936); see also Ohio Envtl. Council v. U.S.
OUTSIDE LEGAL COUNSEL PLC




                            Dist. Court, S. Dist. of Ohio, E. Div., 565 F.2d 393, 396 (6th Cir. 1977).
     www.olcplc.com




                                                         RELIEF REQUESTED

                                  WHEREFORE, this Court is requested to extend Plaintiffs’ response

                            briefing due date on the State Defendants’ Motion to Dismiss (ECF No. 21)

                            until a reasonable amount time (i.e. 21 days) after this Court renders a

                            decision on Plaintiffs’ Motion to Strike (ECF No. 23) said filing for economy

                            of time and effort for itself, for counsel, and for litigants.

                            Date: April 20, 2018                      RESPECTFULLY SUBMITTED:

                                                                      /s/ Philip L. Ellison
                                                                      OUTSIDE LEGAL COUNSEL PLC
                                                                      PHILIP L. ELLISON (P74117)
                                                                      Counsel for Plaintiffs
                                                                      PO Box 107
                                                                      Hemlock, MI 48626
                                                                      (989) 642-0055
                                                                      pellison@olcplc.com




                                                                      4
                                 1:18-cv-10472-TLL-PTM   Doc # 24   Filed 04/20/18   Pg 5 of 5   Pg ID 297




                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date

                            stated below, I electronically filed the foregoing with the Clerk of the Court

                            using the ECF system which will send notification of such filing to all counsel

                            or parties of record.

                            Date: April 20, 2018                    RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
                                                                    OUTSIDE LEGAL COUNSEL PLC
OUTSIDE LEGAL COUNSEL PLC




                                                                    PHILIP L. ELLISON (P74117)
                                                                    Counsel for Plaintiffs
     www.olcplc.com




                                                                    PO Box 107
                                                                    Hemlock, MI 48626
                                                                    (989) 642-0055
                                                                    pellison@olcplc.com




                                                                    5
